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                     UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

Federal Trade Commission

v.                                           Case Number: 4:20−cv−02717

ZAAPPAAZ, LLC, et al.




                               NOTICE OF RESETTING

TAKE NOTICE THAT A PROCEEDING IN THIS CASE HAS BEEN RESET
FOR THE PLACE, DATE AND TIME SET FORTH BELOW.




Before the Honorable
Peter Bray
PLACE:
by video
United States District Court
515 Rusk Ave
Houston, TX
DATE: 3/21/2022

TIME: 01:00 PM
TYPE OF PROCEEDING: Settlement Conference


Date: January 28, 2022
                                                        Nathan Ochsner, Clerk
